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Attorneys for Defendant Save On SP, LLC

             UNITED STATES DISTRICT COURT DISTRICT OF NEW JERSEY


 JOHNSON & JOHNSON                                     Civil Action No. 22-2632 (ES)(CLW)
 HEALTH CARE SYSTEMS INC.,
                                                          Document Electronically Filed
                    Plaintiff,
        v.                                                Return Date: October 16, 2023

 SAVE ON SP, LLC,                                      NOTICE OF MOTION TO SEAL

                        Defendant.
        PLEASE TAKE NOTICE on October 16, 2023, or a date and time to be set by the

 Court, the undersigned attorneys for Defendant Save On SP, LLC (“SaveOnSP”) and for

 Plaintiff Johnson & Johnson Health Care Systems, Inc. (“JJHCS”) shall jointly move for the

 entry of an order, pursuant to Local Civil Rules 5.3(c) and 7.1, permanently sealing portions of

 the June 27, 2023 transcript [ECF 131]. Pursuant to Local Civil Rule 7.1(d)(4), no legal brief is
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 required because all relevant proposed findings of fact and conclusions of law required by Local

 Civil Rule 5.3(c)(3) have been set forth in the Declaration of E. Evans Wohlforth, Jr., Esq.

 submitted herewith.

         PLEASE TAKE FURTHER NOTICE that, in support of the within motion, the

  parties shall rely upon the Declaration of E. Evans Wohlforth, Jr., Esq., and the Appendices

  therein.

         PLEASE TAKE FURTHER NOTICE that a copy of the proposed Findings of Fact

  and Conclusions of Law and Order Granting the Motion to Seal is submitted with this Notice.

         PLEASE TAKE FURTHER NOTICE that a certificate attesting to the date and

  manner of service of these moving papers is submitted herewith.

  Dated: September 22, 2023

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